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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,                  No. 07-20068

                   Plaintiff,
                                           HON. Paul V. Gadola
-vs-
                                           OFFENSE(S): Conspiracy to possess
D-2, JORGE VIRAMONTES                      with intent to distribute five kilograms
                                           or more of cocaine

               Defendant.                  MAXIMUM PENALTY: Twenty years to
____________________________/              Life imprisonment

                                           MAXIMUM FINE: $8,000,000




                           RULE 11 PLEA AGREEMENT

       Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant

JORGE VIRAMONTES and the government agree as follows:

1.     GUILTY PLEA

       A.    Count(s) of Conviction

       Defendant will enter a plea of guilty to Count(s) one of indictment, which

charge(s) conspiracy to possess with intent to distribute five kilograms or more of

cocaine.

       B.    Elements of Offense(s)
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